      Case 3:15-cr-00526-L   Document 45   Filed 03/10/15   PageID.133      Page 1 of 1



                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                             FILED
                                                                              MAR 1 0 2015
UNITED STATES OF AMERICA,                  CAS E NO. 15CR0 52 6 ­    - 3clERK. u.s. l)1STRIC'f COURT
                                                                    SOUTHi:.i'iN DIS;n:,!Cl OF CAUfOAN1A
                                                                    BY                          DePUTY,
                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
ANGELA ROSE VELA,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

__
 X__ an Information has been filed in another case against the defendant
     and the Court has granted the motion of the Government for dismiss
     of this case, without prejudice; or

     the Court has dismissed the case for unnecessary               lay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/Information:

     18:371, 2320(a) - Conspiracy to Traffic in Counterfeit Goods



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 3/10/2015


                                               ited States Magistrate Judge
